    Case 20-03195-sgj Doc 87 Filed 08/26/21                    Entered 08/26/21 12:20:40            Page 1 of 6




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
OFFICIAL   COMMITTEE                       OF       UNSECURED           )
CREDITORS,                                                              )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )
                                                                        )
CLO HOLDCO, LTD., CHARITABLE DAF HOLDCO,                                )   Adv. Pro. No. 20-03195 (SGJ)
LTD., CHARITABLE DAF FUND, LP, HIGHLAND                                 )
DALLAS FOUNDATION, INC., THE DUGABOY                                    )
INVESTMENT TRUST, GRANT SCOTT III IN HIS                                )
INDIVIDUAL CAPACITY, AS TRUSTEE OF THE                                  )
DUGABOY INVESTMENT TRUST, AND AS                                        )
TRUSTEE OF THE GET GOOD NONEXEMPT                                       )
TRUST, AND JAMES D. DONDERO,                                            )
                                                                        )
                             Defendants.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

     I, Elliser Silla, depose and say that I am employed by Kurtzman Carson Consultants LLC
(“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 23, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:


                                           (Continued on Next Page)



1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
 Case 20-03195-sgj Doc 87 Filed 08/26/21       Entered 08/26/21 12:20:40   Page 2 of 6




   •   Agreed Order Granting the Official Committee of Unsecured Creditors’ Motion to
       Further Extend the Stay of the Adversary Proceeding Through October 15, 2021
       [Docket No. 84]


Dated: August 26, 2021
                                           /s/ Elliser Silla
                                           Elliser Silla
                                           KCC
                                           222 N Pacific Coast Highway, Suite 300
                                           El Segundo, CA 90245
                                           Tel 310.823.9000




                                           2
Case 20-03195-sgj Doc 87 Filed 08/26/21   Entered 08/26/21 12:20:40   Page 3 of 6



                             EXHIBIT A
           Case 20-03195-sgj Doc 87 Filed 08/26/21                                Entered 08/26/21 12:20:40                     Page 4 of 6
                                                                          Exhibit A
                                                                    Adversary Service List
                                                                   Served via Electronic Mail



              Description                              CreditorName                     CreditorNoticeName                            Email
                                                                                                                    john@bondsellis.com;
                                                                                                                    john.wilson@bondsellis.com;
                                                                                John Y. Bonds, III, John T. Wilson, bryan.assink@bondsellis.com;
                                           Bonds Ellis Eppich Schafer Jones     IV, Bryan C. Assink, Clay M.        clay.taylor@bondsellis.com;
Counsel for James Dondero                  LLP                                  Taylor, William R. Howell, Jr.      william.howell@bondsellis.com
Financial Advisor to Official Committee of                                      Earnestiena Cheng, Daniel H         Earnestiena.Cheng@fticonsulting.com;
Unsecured Creditors                        FTI Consulting                       O'Brien                             Daniel.H.O'Brien@fticonsulting.com
                                                                                Melissa S. Hayward, Zachery Z.      MHayward@HaywardFirm.com;
Counsel for the Debtor                      Hayward & Associates PLLC           Annable                             ZAnnable@HaywardFirm.com
                                                                                                                    ddraper@hellerdraper.com;
Counsel for the Dugaboy Investment                                              Douglas S. Draper, Leslie A.        lcollins@hellerdraper.com;
Trust and Get Good Trust               Heller, Draper & Horn, L.L.C.            Collins, Greta M. Brouphy           gbrouphy@hellerdraper.com
Counsel for CLO Holdco, Ltd. and Grant                                                                              jcoleman@krcl.com;
Scott                                  Kane Russell Coleman Logan PC            Joseph M. Coleman, John J. Kane jkane@krcl.com
                                                                                                                    hugh.connor@kellyhart.com;
Counsel for CLO Holdco, Ltd. and                                                Hugh G. Connor II, Michael D.       michael.anderson@kellyhart.com;
Highland Dallas Foundation, Inc.            Kelly Hart & Hallman                Anderson, Katherine T. Hopkins      katherine.hopkins@kellyhart.com
Counsel for CLO Holdco, Ltd. and
Highland Dallas Foundation, Inc.            Kelly Hart & Pitre                  Amelia L. Hurt                      amelia.hurt@kellyhart.com
Counsel for CLO Holdco, Ltd. and
Highland Dallas Foundation, Inc.            Kelly Hart & Pitre                  Louis M. Phillips                   louis.phillips@kellyhart.com
Counsel for UBS Securities LLC and                                                                                  andrew.clubok@lw.com;
UBS AG London Branch                        Latham & Watkins LLP                Andrew Clubok, Sarah Tomkowiak sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC and                                                                                  asif.attarwala@lw.com;
UBS AG London Branch                        Latham & Watkins LLP                Asif Attarwala, Kathryn K. George Kathryn.George@lw.com
Counsel for UBS Securities LLC and                                                                                  jeff.bjork@lw.com;
UBS AG London Branch                        Latham & Watkins LLP                Jeffrey E. Bjork, Kimberly A. Posin kim.posin@lw.com
Counsel for UBS Securities LLC and                                                                                  Zachary.Proulx@lw.com;
UBS AG London Branch                        Latham & Watkins LLP                Zachary F. Proulx, Jamie Wine       Jamie.Wine@lw.com
Counsel for CLO Holdco, Ltd. / Trustee
for the Dugaboy Investment Trust and
Get Good Nonexempt Trust / Charitable
DAF Fund, L.P. / Grant James Scott III in
His Individual Capacity                     Myers Bigel P.A.                    Grant Scott, Director             gscott@myersbigel.com
Counsel for CLO Holdco, Ltd. and                                                                                  MAS@SbaitiLaw.com;
Charitable DAF Fund, L.P.                   Sbaiti & Company PLLC               Mazin A Sbaiti, Jonathan Bridges jeb@sbaitilaw.com
                                                                                                                  mclemente@sidley.com;
                                                                                Matthew Clemente, Alyssa Russell, alyssa.russell@sidley.com;
Counsel for Official Committee of                                               Elliot A. Bromagen, Dennis M.     ebromagen@sidley.com;
Unsecured Creditors                         Sidley Austin LLP                   Twomey                            dtwomey@sidley.com
                                                                                                                  preid@sidley.com;
                                                                                Penny P. Reid, Paige Holden       pmontgomery@sidley.com;
Counsel for Official Committee of                                               Montgomery, Juliana Hoffman,      jhoffman@sidley.com;
Unsecured Creditors                         Sidley Austin LLP                   Chandler M. Rognes                crognes@sidley.com




   Highland Capital Management, L.P.
   Case No. 19-34054                                                      Page 1 of 1
Case 20-03195-sgj Doc 87 Filed 08/26/21   Entered 08/26/21 12:20:40   Page 5 of 6



                             EXHIBIT B
                                        Case 20-03195-sgj Doc 87 Filed 08/26/21                                     Entered 08/26/21 12:20:40                      Page 6 of 6
                                                                                                            Exhibit B
                                                                                                      Adversary Service List
                                                                                                    Served via First Class Mail



               Description                              CreditorName                    CreditorNoticeName                     Address1                 Address2     Address3        City      State      Zip       Country
                                                                                John Y. Bonds, III, John T. Wilson,
                                             Bonds Ellis Eppich Schafer Jones   IV, Bryan C. Assink, Clay M. Taylor, 420 Throckmorton Street,
Counsel for James Dondero                    LLP                                William R. Howell, Jr.               Suite 1000                                                 Fort Worth     TX      76102
                                                                                                                                                                                                                    Cayman
Affected Party                               Charitable DAF Fund, LP            c/o Intertrust Corporate Services     Caymana Bay Suite 3211           George Town              Grand Cayman                        Islands
Counsel for the Dugaboy Investment Trust                                        Douglas S. Draper, Leslie A. Collins, 650 Poydras Street, Suite
and Get Good Trust                           Heller, Draper & Horn, L.L.C.      Greta M. Brouphy                      2500                                                      New Orleans    LA      70130
Counsel for CLO Holdco, Ltd. and Grant
Scott                                        Kane Russell Coleman Logan PC      Joseph M. Coleman, John J. Kane          901 Main Street, Suite 5200                            Dallas         TX      75242-1699
Counsel for CLO Holdco, Ltd. and                                                Hugh G. Connor II, Michael D.
Highland Dallas Foundation, Inc.             Kelly Hart & Hallman               Anderson, Katherine T. Hopkins           201 Main Street, Suite 2500                            Fort Worth     TX      76102
Counsel for CLO Holdco, Ltd. and                                                                                         400 Poydras Street, Suite
Highland Dallas Foundation, Inc.             Kelly Hart & Pitre                 Amelia L. Hurt                           1812                                                   New Orleans    LA      70130
Counsel for CLO Holdco, Ltd. and
Highland Dallas Foundation, Inc.             Kelly Hart & Pitre                 Louis M. Phillips                        301 Main Street, Suite 1600                            Baton Rouge    LA      70801
Counsel for UBS Securities LLC and UBS                                                                                   555 Eleventh Street, NW,
AG London Branch                             Latham & Watkins LLP               Andrew Clubok, Sarah Tomkowiak           Suite 1000                                             Washington     DC      20004
Counsel for UBS Securities LLC and UBS                                                                                   330 North Wabash Avenue,
AG London Branch                             Latham & Watkins LLP               Asif Attarwala, Kathryn K. George        Ste. 2800                                              Chicago        IL      60611
Counsel for UBS Securities LLC and UBS
AG London Branch                             Latham & Watkins LLP               Jeffrey E. Bjork, Kimberly A. Posin      355 S. Grand Ave., Ste. 100                            Los Angeles    CA      90071
Counsel for UBS Securities LLC and UBS
AG London Branch                             Latham & Watkins LLP               Zachary F. Proulx, Jamie Wine            1271 Avenue of the Americas                            New York       NY      10020
Counsel for CLO Holdco, Ltd. / Trustee for
the Dugaboy Investment Trust and Get
Good Nonexempt Trust / Charitable DAF
Fund, L.P. / Grant James Scott III in His
Individual Capacity                          Myers Bigel P.A.                   Grant Scott, Director                    4140 Park Lake Ave, Ste 600                            Raleigh        NC      27612
Counsel for CLO Holdco, Ltd. and                                                                                                                       2200 Ross     Suite
Charitable DAF Fund, L.P.                    Sbaiti & Company PLLC              Mazin A Sbaiti, Jonathan Bridges         J.P. Morgan Chase Tower       Avenue        4900W      Dallas         TX      75201




    Highland Capital Management, L.P.
    Case No. 19-34054                                                                                      Page 1 of 1
